    Case: 1:20-cv-03490 Document #: 58 Filed: 09/14/20 Page 1 of 2 PageID #:252




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

OUYEINC LTD.,
                                                 Case No. 20 cv 3490
                         Plaintiff,

       v.

Alucy and et al.,

                         Defendants.



                        NOTICE OF DISMISSAL UNDER RULE 41(a)(1)


       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Ouyeinc Ltd.

(“Ouyeinc” or “Plaintiff”) hereby dismisses this action with prejudice pursuant to settlement as

to the following Defendants:

              Defendant Name                                       Line No.

              Accessories_mall                                        106

                    Auto_park9                                        120

                    Besttrade360                                      142

                    Echoii_mall                                       217

                Globedealfield                                        253

                Globedealshop                                         254

               Gooddealfrance                                         257

                Healthcare365                                         278

              Home_garden360                                          282
   Case: 1:20-cv-03490 Document #: 58 Filed: 09/14/20 Page 2 of 2 PageID #:253




              Jianjianstore                                314

                Le_ji84                                    333

             Makeupfactory                                 353

              Onebuymall                                   391

               Rightshere                                  427

             Sellingplus100                                438

             Sporting_shop                                 458

             Super_deal321                                 467

          Yourreliableseller365                            533

Auwer Summer Hot Sale Up To 50% Off                          6

                  Zeoo                                      80

                Butilove                                    16

                 Runaty                                     63

                odstore                                     53



DATED September 14, 2020                   Respectfully submitted,

                                           /s/ James A. Karamanis
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